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                       EXHIBIT A

                     Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )    Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,1                        )    Case No. 14-10979 (CSS)
                                                              )
                          Debtors.                            )    (Jointly Administered)
                                                              )

                     ORDER ENLARGING THE PERIOD
         WITHIN WHICH THE DEBTORS MAY REMOVE CERTAIN ACTIONS


         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), for entry of an order (this “Order”) extending the period

within which the Debtors may remove certain Actions by 180 days from July 28, 2014, through

and including January 26, 2015, without prejudice to the Debtors’ right to seek further

extensions, all as more fully set forth in the Motion; and the Court having found that it has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that

venue of this case and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and the Court having found that the relief requested in the Motion is in the best interests of

the Debtors’ estates, their creditors, and other parties in interest; and the Court having found that

the Debtors provided appropriate notice of the Motion and the opportunity for a hearing on the

Motion under the circumstances; and the Court having reviewed the Motion and having heard the

1   The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the debtors’ proposed claims and noticing agent at
    http://www.efhcaseinfo.com.
2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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statements in support of the relief requested therein at a hearing, if any, before the Court (the

“Hearing”); and the Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before the Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      The period within which the Debtors may seek removal of the Actions pursuant to

28 U.S.C. § 1452 and Bankruptcy Rule 9027 is extended by 180 days from July 28, 2014,

through and including January 26, 2015, without prejudice to the Debtors’ right to seek further

extensions.

       3.      Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of the Local Bankruptcy Rules are satisfied by such notice.

       4.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       5.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       6.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.




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       7.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Wilmington, Delaware
Dated: ____________, 2014

                                                 THE HONORABLE CHRISTOPHER S. SONTCHI
                                                 UNITED STATES BANKRUPTCY JUDGE




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